                            Case
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                    13       Attorney for Defendant Camilo Q. Primero

                    14
                                                         UNITED STATES DISTRICT COURT
                    15                                        DISTRICT OF NEVADA

                    16       UNITED STATES OF AMERICA,                             CASE NO. 2:17-cr-00205-APG-GWF

                    17                      Plaintiff,

                    18       vs.
                                                                                              ORDER
                    19
                             CAMILO Q. PRIMERO and
                    20       AURORA S. BELTRAN,

                    21                      Defendants.

                    22        STIPULATION AND ORDER TO ENLARGE TIME WITHIN WHICH DEFENDANTS
                              MAY FILE THEIR MOTION FOR REVOCATION OF MAGISTRATE’S ORDER OF
                    23                           DETENTION PENDING TRIAL
                    24
                                                                  (FIRST REQUEST)
                    25
                                    IT IS HEREBY STIPULATED AND AGREED by and between Defendant Aurora S.
                    26
                             Beltran, by and through her attorneys, Michael V. Cristalli, Esq. and Vincent Savarese III, Esq.
                    27
                             of the law firm of Gentile Cristalli Miller Armeni Savarese; Defendant Camilo Primero, by and
                    28
    Gentile Cristalli
Miller Armeni Savarese                                                    1 of 5
    Attorneys At Law
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                            Case
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                      1      through his attorneys, Jeffrey B. Setness, Esq., of the law firm of Fabian VanCott and William

                      2      McMurrey, Esq., (Pro Hac Vice) of the law firm of Oberheiden & McMurrey, LLP; and

                      3      Plaintiff United States of America, by and through Dayle Elieson, United States Attorney for

                      4      the District of Nevada and Patrick Burns, Assistant United States Attorney, that the time within

                      5      which Defendants may file their motion pursuant to Title 18, United States Code (“U.S.C.”),

                      6      Section 3145(b) for revocation of the Order of the United States Magistrate Judge detaining

                      7      them pending trial in this matter [DKT 62] be enlarged for a period of one week, up to and

                      8      including March 21, 2018.

                      9             This Stipulation is entered into for the following reasons:

                    10          1. On February 28, 2018, following a hearing on the Government’s Second Motion to

                    11       Revoke Pretrial Release And Detain Defendants Primero And Beltran Pending Trial [DKT 56],

                    12       Magistrate Judge George Foley, Jr. ordered that Defendants Aurora S. Beltran and Camilo Q.

                    13       Primero be detained pending trial in this matter and remanded them to custody forthwith [DKT

                    14       62].

                    15          2. In order to prepare their motion pursuant to 18 U.S.C. Section 3145(b) for revocation of

                    16       that Order, Defendants’ counsel must obtain the transcript of the February 28, 2018 hearing

                    17       before the magistrate judge.

                    18          3. Pursuant to Local Rule IB 3-2, Defendants’ motion for revocation of the magistrate

                    19       judge’s detention order is currently due to be filed on or before March 14, 2018.

                    20          4. On March 5, 2018, counsel for Defendant Beltran requested that a transcript of the

                    21       February 28, 2018 hearing before the magistrate judge be prepared by the court reporter on an

                    22       expedited basis, but have been advised by the court reporter that, even on an expedited basis,

                    23       the transcript of the hearing cannot be made available to counsel until March 12, 2018.

                    24          5. This will not allow defense counsel adequate time within which to properly prepare

                    25       Defendants’ motion for revocation of the magistrate judge’s detention order notwithstanding

                    26       the exercise of due diligence.

                    27          6. The additional time requested herein is not sought for purposes of delay and the denial

                    28       of this request for a continuance could result in a miscarriage of justice;
    Gentile Cristalli
Miller Armeni Savarese                                                      2 of 5
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  Las Vegas, NV 89145
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                      1         7. For all the above-stated reasons, the ends of justice would be best served by the

                      2      enlargement of time requested.

                      3         8. This is the first request for an enlargement of time within which Defendants may file

                      4      their motion for revocation of the magistrate’s Order of detention in this matter.

                      5      DAYLE ELIESON                                     GENTILE CRISTALLI
                             UNITED STATES ATTORNEY                            MILLER ARMENI SAVARESE
                      6      DISTRICT OF NEVADA

                      7                 7th day of March, 2018.
                             DATED this ___                                    DATED this 7th
                                                                                          ___day of March, 2018.

                      8      /s/ Patrick Burns
                                            __________________                 /s/ Vincent Savarese III
                                                                                                     ____________
                             PATRICK BURNS                                     MICHAEL V. CRISTALLI
                      9      Assistant United States Attorney                  VINCENT SAVARESE III
                             Attorney for Plaintiff,                           Attorneys for Defendant,
                    10       UNITED STATES OF AMERICA                          AURORA S. BELTRAN

                    11       FABIAN VANCOTT

                    12                  7th
                             DATED this ___day of March, 2018.

                    13        /s/ Jeffrey B. Setness ____________
                             JEFFREY B. SETNESS
                    14
                             OBERHEIDEN & MCMURREY, LLP
                    15
                             WILLIAM MCMURREY (Pro Hac Vic)
                    16       Attorneys for Defendant,
                             CAMILO Q. PRIMERO
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    Gentile Cristalli
Miller Armeni Savarese                                                     3 of 5
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                      1                                    UNITED STATES DISTRICT COURT
                                                                DISTRICT OF NEVADA
                      2
                             UNITED STATES OF AMERICA,                              CASE NO. 2:17-cr-00205-APG-GWF
                      3
                                              Plaintiff,
                      4
                             vs.
                      5

                      6      CAMILO Q. PRIMERO and
                             AURORA S. BELTRAN,
                      7
                                              Defendants.
                      8
                                           FINDINGS OF FACT, CONCLUSION OF LAW AND ORDER
                      9
                                      Based on the pending Stipulation of counsel, and good cause appearing therefor, the
                    10
                             Court hereby finds that:
                    11
                                                                CONCLUSIONS OF LAW
                    12
                                      Based on the fact that counsel have agreed to a continuance, the Court hereby
                    13
                             concludes that:
                    14
                                   1. On February 28, 2018, following a hearing on the Government’s Second Motion to
                    15
                             Revoke Pretrial Release And Detain Defendants Primero And Beltran Pending Trial [DKT 56],
                    16
                             Magistrate Judge George Foley, Jr. ordered that Defendants Aurora S. Beltran and Camilo Q.
                    17
                             Primero be detained pending trial in this matter and remanded them to custody forthwith [DKT
                    18
                             62].
                    19
                                   2. In order to prepare their motion pursuant to 18 U.S.C. Section 3145(b) for revocation of
                    20
                             that Order, Defendants’ counsel must obtain the transcript of the February 28, 2018 hearing
                    21
                             before the magistrate judge.
                    22
                                   3. Pursuant to Local Rule IB 3-2, Defendants’ motion for revocation of the magistrate
                    23
                             judge’s detention order is currently due to be filed on or before March 14, 2018.
                    24
                                   4. On March 5, 2018, counsel for Defendant Beltran requested that a transcript of the
                    25
                             February 28, 2018 hearing before the magistrate judge be prepared by the court reporter on an
                    26
                             expedited basis, but have been advised by the court reporter that, even on an expedited basis,
                    27
                             the transcript of the hearing cannot be made available to counsel until March 12, 2018.
                    28
    Gentile Cristalli
Miller Armeni Savarese                                                     4 of 5
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                      1         5. This will not allow defense counsel adequate time within which to properly prepare

                      2      Defendants’ motion for revocation of the magistrate judge’s detention order notwithstanding

                      3      the exercise of due diligence.

                      4         6. The additional time requested herein is not sought for purposes of delay and the denial

                      5      of this request for a continuance could result in a miscarriage of justice;

                      6         7. For all the above-stated reasons, the ends of justice would be best served by the

                      7      enlargement of time requested.

                      8         8. This is the first request for an enlargement of time within which Defendants may file

                      9      their motion for revocation of the magistrate’s Order of detention in this matter.

                    10                                                    ORDER

                    11              IT IS HEREBY ORDERED that the deadline for the Defendants to file their motion

                    12       for revocation of the magistrate’s Order of detention in this matter [DKT 62] is extended until

                    13       March 21, 2018.

                    14              Dated: March
                                    DATED         8, 2018.
                                            this _____ day of ___________________, 2018.

                    15
                                                                    _________________________________________
                    16                                              ANDREW P. GORDON
                                                                    UNITED STATES DISTRICT COURT JUDGE
                    17                                              CASE NO.: 2:17-cr-00205-APG-GWF
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